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      EXHIBIT A
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                           IN THE CIRCUIT COURT OF ST. LOUIS COUNTY
                                      STATE OF MISSOURI
AMBER DAVIS                                            )
                                                       )
          Plaintiff,                                   )
                                                       )        Case No., 23SL-CC02649
v.                                                     )
                                                       )
SEAN PATRICK DOUGHERTY                                 )        JURY TRIAL DEMANDED
                                                       )
         Defendant.                                    )

                                    SECOND AMENDED PETITION
            COMES NOW Plaintiff, Amber Davis, by and through her undersigned attorney, and

     for her First Amended Petition for Damages and Equitable Relief, states to the Court as

     follows:

            1. Plaintiff Amber Davis ("Davis") is a resident of St. Louis County, Missouri.

            2. Defendant Sean Patrick Dougherty ("Dougherty") is a resident of St. Louis

                County, Missouri.

            3. This Court has jurisdiction over the instant matter because all relevant events

                occurred in St. Louis County, Missouri.

            4. Starting around the end of 2015 and continuing until May of 2023, Defendant

                Dougherty engaged in a pattern of romance fraud against Plaintiff Davis.

                Dougherty's fraudulent misrepresents and violent coercion caused in excess of

                $300,000.00 to be wrongfully transferred from Davis to Dougherty.

            5. Prior to meeting, Defendant Dougherty had been accused by other woman of

                engaging    in   "romance   fraud,"        wherein   Daugherty   misrepresented   his

                motivations for being involved with women in order to extract substantial money

                before moving on to his next victim.
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    6. In fact, Defendant Dougherty has been previously sued for precisely this pattern

       of conduct in St. Louis County.

    7. At the time that Plaintiff Davis and Defendant Dougherty became involved,

       Plaintiff Davis had no reason to suspect Defendant Dougherty was attempting

       to deceive her into giving him money.

    8. When they first met, Defendant Dougherty lavished praise and proclamations

       of love on Plaintiff Davis, laying the groundwork for a long-term scam.

    9. On their initial dates, Dougherty applied pressure on Davis' sympathy toward

       him; he talked about his cold father and his time spent at the psychiatric

       hospital while sobbing over his drink at the bar next to Davis.

    10. Around March of 2016 Defendant Dougherty, after knowing Davis for only a few

       months, asked Plaintiff Davis for money for the first time. Via Facebook

       messenger Dougherty indicated" ... And beautiful I just got an electric bill for

       $706 that's due on March 9th or my electricity will be disconnected." He further

       requested that she give him $2,500 for backed taxes he owned. Dougherty

      followed up his messages with phone calls and in person conversations, wherein

      he marshalled assurances that the money would be returned to entice Davis to

       make this initial transfer.

    11.After Davis complied. Dougherty's campaign intensified. He began to pair

      frequent, over the top adoration and praise of Davis with a two faced,

      intermittent and violent rage. In June of 2016, Dougherty became for the first

      time violent with Plaintiff Davis. Upon learning that his driver's license had

      been revoked, Dougherty became immediately incensed that Plaintiff Davis was



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       not around to help comfort him. In spite of the revocation, Dougherty drove to

       Davis' condo and became explosively angry, screaming at her and shoving on the

       landing outside of his condo. Scared, Davis complied with Dougherty's requests

       and began providing him rides while the license was revoked.

    12. Dougherty's violent anger towards even insignificant apparent slights, large

       physical

       stature, and obsession with firearms caused ongoing fear on behalf of Davis.

       Dougherty

       in August of 2016 relayed to Davis that he had attacked an individual who he

       became upset with in an AT&T store. Dougherty used this and other incidents

       of violence to send a message to Davis that she had to comply with his demands,

       or else.

    13.Any time Davis attempted to leave, Dougherty would prevent it. In September of

       2016, when Davis first tried to leave Dougherty, she was met with ongoing

       messages and calls from Dougherty and another individual that purported to be

       his then lover.

    14. After Dougherty succeeded in enticing Davis to reenter a romantic relationship

       with him through his characteristic mix of violent outbursts of aggression,

       threats, and lavish promises, he set his sights on convincing Davis to finance his

       college education.

    15. After getting breakfast at First Watch at Davis' expense, Dougherty had a

       violent oral confrontation with a driver who presumably did not stop where she

       was supposed to. Dougherty kicked the driver's car as it passed him and Davis,




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       and when the driver got out, he called her a racial slur. Afterward, Dougherty

       blamed his outburst on his steroids.

    16. Notwithstanding his incidental anger, Dougherty continued to profess to Davis

       that he loved her and wanted to be married.

    17. In the summer of 2017, Dougherty was taking Trenbolone steroid to increase his

       body mass. In just a couple of weeks, Dougherty's body expanded, doubling the

       size of his arms, torso, and legs.

    18. In spring of 2017, Dougherty drugged Davis' coffee with Adderall to keep her awake

       to help him with his homework. Dougherty masked the crushed Adderall taste by

       adding Baileys to the espresso and cream. Dougherty's friend Kerry Wood, whom

       Dougherty also drugged in a similar manner before, jokingly called Dougherty's

       drugging tendency a "Jeffrey Dahmer thing".

    19. In the summer of 201 7, Dougherty was taking Trenbolone steroid to increase his

       body mass. In just a couple of weeks, Dougherty's body expanded, doubling the

       size of his arms, torso, and legs.

    20. At this time, Davis was reluctant to purchase the ring, but Dougherty insisted

       upon the same as a test of her financial resources. Dougherty also provided

       Davis with further promises relating to the supposed marriage, pursuing

       wedding dresses online as well as researching venues and the like. Dougherty

       even initiated the process of looking for a home where they could start their

       marrage.

   21. Shortly before the purchase of the engagement ring, Dougherty started college

       again.


       Based on the promised marriage, Dougherty was able to get Davis to pay all of


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       the

       associated expenses with his college tuition, including paying fees not covered by

       the loans and covering incidental expenses. Dougherty made explicit promises

       while trying to convince Davis to fund the college that he would pay Davis back.

    22. In August of 2017, when Davis was spending time with her then six-year-old

        nephew, Henry, Dougherty unexpectedly fell into a roid rage after he saw Davis

        and Henry getting ready to play in a bathtub after returning from a long walk

       in the summer heat. Davis changed into swimwear when Dougherty arrived.

       Dougherty suddenly exploded into a violent rage and accused Davis of abusing

       Henry, calling her "disgusting". After Davis made Dougherty leave, Dougherty

       spammed Davis with texts and calls before he returned in a blind rage. He

       pounded on Davis' front door while she and Henry hid in the basement, fearing

       for Dougherty's outburst as he yelled that he would tell all of Davis' neighbors

       that she was a "child-abuser". After Davis called the police, Dougherty

       attempted to get Davis arrested but the officers told her that they "knew

       [Dougherty] was crazy".

    23. In 2018, Dougherty partook in intense preparation for a body building competition,

       Dougherty commenced a regular intake of steroids while staying on a keto diet and

       working out three times a day. He was frequently irritable and aggressive.

    24. By December of 2018, Dougherty's pattern of exerting control over Davis was to

       the point where Dougherty was supported entirely at Davis' expense. Dougherty

       had no job, and no income with the sole exception of Davis. Dougherty through

       his threats of violence and menacing control over Davis even forced her to do his

       homework for the school. At one point Dougherty required Davis to work on his



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       homework and for her jobs to support him in excess of 36 straight hours without

        sleep and then became upset when Davis declined to spend time with him to

        sleep. Any time Davis resisted, Dougherty would become explosively angry.

    25. By April of 2019, Dougherty had begun trying to use his education to gain experience

       with an internship with the Air Force Civilian Service. When he was unable to gain

       the requisite clearance because of his criminal history, he entered into a deep

       depression, doubling the threats of killing himself. Davis would sit with him for

       hours, even late into the night, to ensure his safety. One instance occurred where

       EMS were called due to his threat of suicide. Upon arriving at the hospital,

       Dougherty demanded Davis not to sign the forms indicating his mental state. On

       the way home, in the car with Davis and roommate Mike Thompson, Dougherty

       became engaged and repeatedly punched the dashboard of Davis' car, leaving a large

       dent. For the remaining time that Dougherty knew Davis, he often leveraged threats

       of suicide and subsequent violent anger to extract ever increasing amounts of money

       from Davis. But the threats of suicide always carried with them the innuendo that

       he would take Davis, her family or other third parties like the police with them.

    26. At this point, Davis no longer had an option to call for help to prevent, stop, or aid

       any future threat of suicide or ill-intention Dougherty aimed at himself without the

       fear for her and her family's safety. Instead, all Davis could do was comply with

       Dougherty's financial hunger.

   2 7. Around this time Dougherty began drinking heavily, and his pattern of violence

       dramatically increased. On the way to Dougherty's family Christmas Eve

       gathering, he became angry with Davis and threw items at her while screaming,

       threatening her with physical harm. Dougherty damaged portions of the interior



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       of Davis car, slamming his hands into the dashboard and throwing beer all over

       the inside.

    28. By the end of 2019. Dougherty's suicidal ideation suicidal became his regular routine.

    29. In the remaining time that Dougherty knew Davis, he often leveraged threats

       of suicide and subsequent violent anger to extract ever increasing amounts of

       money from Davis. But the threats of suicide always carried with them the

       innuendo that he would take Davis, her family or other third parties like the

       police with them.

    30. During this time, Dougherty also suffered from hallucinations and delusions of

       prosecutions, believing that the police was out to get him and actively looking for

       him. He would call Davis on the phone, whispering erratically while hiding in the

       closet that the police where at his home when, in reality, Dougherty was alone. At

       one point, while in the car with Davis, Dougherty stated to her the "aliens" told him

       that he could not trust Davis.

    31. In fall of 2020, Dougherty videotaped himself having a sexual intercourse with Davis.

       In this instance, he shoved held the phone camera toward Davis' face but when she

       turned the phone back around, telling Dougherty that she did not want to be recorded,

       he continued to film only himself. Later, Dougherty stated that he had shown the

       video to at least one of his friends, Kerry Wood. When Davis later asked him to delete

       it, Dougherty lied about getting rid of the recording.

    32. In September of 2020, Plaintiff Davis was working a total of three jobs to pay for

       Defendant Dougherty's spending addiction and credit card debt. She was working

       full time as a data analyst at NGA; and as a director of medical writing at Superior

       Medical Experts; all the while running her business at Sweet Hopes Bakery.


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    33. February 2020, Davis underwent a major abdominal surgery that lasted 6-7 hours.

       During this time. Dougherty did not wish to stay in the hospital with Davis and

       instead went shopping with his roommate, spending thousands of dollars on Davis'

       on her card. At this time, because Davis was undergoing treatment, she was not

       making her usual salary.

    34.In February of 2020, a few weeks after Davis had a major abdominal surgery,

       Dougherty demanded that Davis buy a new car. When Davis refused, Dougherty

       pushed her extremely hard in the chest. This caused immense pain compounded by

       the recent surgery.

    35.On February 12, 2020 after Davis' major abdominal surgery, she was informed by

       her doctor that she was positive for HPV. Aside from Dougherty, Davis had no other

       romantic partners. When confronted with this, Dougherty ignored Davis and

       instead stated "What about me? Aren't you worried that I will get throat cancer?"

    36. A few weeks after Davis' surgery, Dougherty demanded that Davis buy a new car.

       When Davis refused, Dougherty pushed her extremely hard in the chest. This caused

       immense pain compounded by the recent surgery.

    37. In May 2020, Dougherty told Davis that he beat up a husband of his then

      paramour Mary when attending a meeting to exchange a child between parents.

      He proudly told Plaintiff Davis that he knocked the ex-husband's teeth out and

      broke his nose. Later, Dougherty told Davis that he engaged in a sexual

      intercourse with Mary, got angry at her, and came to Davis for comfort. The

      following day, Dougherty made Davis drop off personal items to Mary in-person.

   38. Dougherty convinced Davis to surrender her Xanax prescription and refills to




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        him, informing Davis that he required it more than she did

     39. In June of 2020, Dougherty doubled his pressure by sending Davis pictures of

        women he met in-person or through dating apps, threatening to have sex with

        them if Davis did not comply with Dougherty's demands.

    40. By July of 2020, Dougherty increased the amount of leverage on Davis exerted

       through his large collection of firearms. Following a heated discussion that

       month Dougherty brought Davis two firearms. He instructed Davis that they

       were to shoot each other together.

    41. When Davis refused, Dougherty became incensed and fired one of the guns from

       the deck of his condo. As he had explained in later threats of suicide, Dougherty

       always intended that his purported suicide would cause collateral damage to

       Davis.

    42. Two days later, Dougherty demanded that Davis pay for a $2,500.00 certification

       bootcamp for him. When Davis refused, Dougherty indicated that he had

       determined to kill himself and subsequently refused to answer her phone calls

       and messages. He went to a bar and began to drink. Davis came to the bar in

       search of Dougherty, and Dougherty became explosively violent. Dougherty

       grabbed Davis and threw her to the ground, resulting in serious physical injury

       to her hands and legs. When Davis tried to stand up, Dougherty threw her to

       the ground again. Davis paid for the certification bootcamp.

    43. Dougherty was charged with domestic violence after bystanders reported the

       conduct at the bar in late July 2020. But Dougherty leveraged further threats of

       violence, "suicide" and his increasing control of all of Davis' financial resources to



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        prevent her from following up with a victims advocate from the St. Louis County

        prosecuting attorney's office.

     44. In one incident around this time, Dougherty became enraged, got out of his bed,

        and came over to where Davis was sitting, where he gripped both sides of her head

        yelling that he wanted to put his fist through her face and so badly wanted to hurt

        her. He then called the police, reporting Davis had been violent toward him and

        wouldn't leave, which is patently false. Dougherty's outburst occurred only because

        Davis refused to sit next to him on the bed.

     45. In August of 2020, Dougherty came to Davis' house and demanded that she pay

        the backed property taxes on his condominium, or else St. Louis County would

        foreclose on his property. Davis refused to do so, and Dougherty again exploded in

        a violent rage. He punched her patio furniture, impacting and breaking the tile

        top of a table as a threat to Davis for future non-compliance with his demands

        for money. Davis paid the property taxes.

     46. On the same day, Dougherty also made Davis pay the Rosemblum lawfirm to

       represent him in a domestic case. The taxes and Rosemblum were paid on the

        same day.

    4 7. Dougherty's threats and ever-increasing control of Davis financial life had by this

       time resulted in Dougherty having access to all of her financial accounts, including

       her credit card, bank accounts, and the like.

    48. On and around 2021, Dougherty continued to strengthen his control over Davis by

       often openly expressing fantasies to her about his home being burglarized so that he

       could kill the perpetrator with the artillery of firearms he possessed, half of which



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       Davis purchased at Dougherty's request. Additionally, Dougherty fantasized about

       killing police officers with a spear he owned and "impaling" them like decorations.

     49. Throughout the relationship, Dougherty forced Davis to watch YouTube videos for

        specific topics and themes involving violence and abuse against women. In these

        videos of "crazy bitches", Dougherty groomed Davis to be complicit with his violence

        toward her, accepting it as the normal. This persisted and increased in volume

        overtime.

    50.Around January of '21, Dougherty began pressuring Davis and her mother to

       purchase him a $1.45 million dollar property. Dougherty went so far as to set up a

       meeting between Davis entire extended family including her sister, brother-in-law,

       niece, and nephew- to tour the property. Dougherty made an offer on the property

       to which Davis agreed under duress. Dougherty represented that the house was to

       be a marital property for Davis and him. Dougherty became obsessed with the

       property, and with buying equipment, tractors, four wheelers, and other equipment

       to be used on the same.

     51. In mid-July of '21, Dougherty became enraged because Davis couldn't purchase

        the property, stating that Davis had one week to purchase the property or he

        would put down payments on two four-wheelers to enjoy before his determined

        date for suicide in October 2021. He also texted her that she "needed to take her

        next steps carefully."

     52. Around this time, Davis was working 100 hours a week to make up for

       Dougherty's requests. She often skipped on showers in favor of sleep, only able

       to get around 3-4 hours of rest. Dougherty continued to demand that Davis spent

       time with him. In one instance, Davis had to purchase a Wi-Fi connection in her



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        car so she could take her work meetings while driving over to run errands and

        make food for Dougherty. The laptop that was positioned on her lap behind the

        wheel rubbed against the middle media center of her car, chipping its paint.

     53. When Davis finally got a big paycheck, she was overjoyed because she realized

        she could pay off her credit card debts incurred from Dougherty's purchasing

        habits. When she submitted the payments, she received emails that they

        bounced back because Dougherty immediately used the paycheck to pay off his

        credit card debts instead. That night, while Davis made Dougherty reverse the

        payment, Dougherty blamed Davis for ruining his credit score.

     54. Later in July of '21, Dougherty made a video call to Davis. At the beginning of the

        call, he repeated his demand that she purchase the property for him. When she

        again refused, he extended his phone above his head, changing the orientation

        to allow Davis to see the collection of guns that he laid out on his bed. Dougherty

        then drove out to St. Charles after drinking heavily. He told her that he hoped

        the St. Charles police would pull him over so that he could shoot at them and be

        killed in a "suicide by police" plot.

    55. The same day, he took Davis credit card to a motor sports store in St. Charles

        and put a down payment on two four wheelers one for him and one for Davis.

       He explained that the four wheelers were to be his "last joy" before he killed

       himself and set a date for the same in October.

    56. Through August and September of '21, Dougherty's violence against Davis
        continued.

       During August, he shook her, slamming her head into a wall. Then he threw her




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        down on the sofa, continuing to violently shake and scream at her while kneeling

        over her.

     57. In September of '21, Dougherty engaged another realtor to make an offer on the

        1.45 million dollar property he so fervently desired. When Davis refused and

        tried to leave Dougherty's condo, Dougherty first stood in front of the door in an

        attempt to prevent

        her from leaving. When he allowed her to leave, Dougherty slammed the door on

        her

        hand, leaving Davis' fingertips on the other side of the door. Dougherty then locked

        the deadbolt. The flesh was torn open, exposing tendons and underlying bone. One

        of the injured fingers was fractured. As a result, Davis had no option but to to

        significantly cut back on her work at the time in excess of 90 hours a week

        because her employment required significant typing and she was relatively new to

        Johnson & Johnson and NGA to have the accessible leave. She tried to work the best

        that she could.

     58. Davis refused to purchase the property, but Dougherty persisted. Over the

        course of 2021 and continuing into 2022, Dougherty's demands to purchase the

        property escalated. His anger at the continued refusals also grew.

     59.Around April of '22, Dougherty again leveraged threats of "suicide" against Davis

       to try to get her to purchase the property. Such threats always implicitly carried the

       implication of harm to Davis or other third parties. In April, Dougherty told Davis

       that he was going to drive off the St. Charles bridge to kill himself as a result of

       her refusal. In his threats of suicide, he stated that he wished he could take Davis'

       mother with him. Dougherty by this point had reached a new level of emotional


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       abuse towards Davis, incessantly calling her derogatory names and spending freely

       all money that she made and a lot that she didn't. Davis was terrified to leave

       Dougherty because of his "suicide" threats. Dougherty became so enraged over the

       property, that he took Davis' laptop computer from her and punched and stomped

       on it, and thrashed it on furniture in his condo completely destroying it.

    60. Nevertheless, Dougherty continued to impress upon Davis his desire to marry

       her and have a relationship with her.

    61. Dougherty managed to convince Davis to send him on vacation to Florida. She

       reserved a beachfront condo for him and Kerry Wood. While in Florida,

       Dougherty was always drunk and/or high, spending around $2,300 in one night

       at a stripper club and totaling $4000 on credit cards. When Dougherty returned,

       he brought a t-shirt to Davis as a souvenir.

    62. Dougherty tended to forget Davis' birthday. One time, he asked for Davis to cook

       him dinner on her birthday, and when she reminded him of what day it was and

       refused to come over, Dougherty demanded that she take him out for dinner.

       When Davis again refused, Dougherty went out with Kerryi Wood instead and

       spent $150 on Davis' credit card. never telling her what he spent it on.

    63. In October of 2022, Dougherty decided to renovate his entire condo, starting

       from redoing the floors. He asked Davis for money but she initial refused, stating

       it was too expensive. Dougherty persisted to pressure Davis to purchase the new

       flooring. Davis purchased the flooring. Upon installation of approximately half

       of the flooring, Dougherty had it torn-up to first install underlayment to add

       warmth before reinstalling the flooring again which resulted in additional



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        expenses.

     64. In December of 2022, and thereafter, Davis was mourning her mother who had

        just passed. Taking advantage of her state, Dougherty renovated his condo,

        purchasing extra boxes of flooring after Davis repeatedly refused.

     65. In January of '23, Dougherty was scheduled to serve shock time in Jefferson

        County jail after he had become enraged and punched a visually impaired man.

        Prior to the day he was to report to jail, Dougherty became enraged with Davis

        because she didn't have the bandwidth to re-write a summary judgement for an

        employment case Dougherty is pursuing. Dougherty called Davis derogatory

        names and told her that he was glad her mother was dead and was rotting in

        hell. Davis' mother passed in December of '22.

     66. On the day Dougherty was to report to jail, he did not show up, Davis became

        concerned and went over to his house to find him. Upon arriving, Dougherty

        became enraged and attacked Davis, throwing her into a wall, causing her to

        fall to the ground.

     67. On or around March of '23, Davis was painting portions of the interior of her house

        in preparation for her nephew's birthday. She left the painted vanity doors on the

        floor in the family room, she asked Dougherty to close the door so that the breeze

        would not mess up the paint. When Dougherty failed to do so, Davis went to check

        on the doors. When she saw a plastic sheet blowing over the paint, ruining it, she

        stated "Oh no". Hearing her gasp, Dougherty suddenly exploded into a violent rage

        and left. At this point Davis reached her breaking point and collapsed to the floor,

        sobbing. Dougherty came back shortly and shoved a checkbook at Davis repeatedly,



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        demanding that she write him a big check to pay the contractor he had engaged to

        work on his condo.

     68. On or around May of '23, Dougherty picked up the wedding ring from Davis'

        condominium, ostensibly to have it reappraised and cleaned. He took the ring

        and all associated paperwork and fled to Florida on May 26 of '23 - where he

        had started, yet again, a relationship with another woman, Kayla.         He had

        apparently planned to live with her in preparation for their "marriage." This

        action is in stark contrast to his text message sent on May 23 of 2023, which

        stated "I am not moving to Florida with you."

    69. On May 29, Davis discovered the full extent of the fraud. She attempted to shut

        down access to all financial accounts that Dougherty had access to. But

       Dougherty had backdoors set up for some, and continued spending her money

       even after changing passwords and instructing her financial institutions of the

       fraud attempt.

    70. After Davis filed a restraining order against Dougherty, Dougherty began

       threatening and campaigning against Davis to prevent her from testifying in a

       forthcoming trial for the domestic violence incident at the bar in July '20. He

       also filed a spurious order of protection against Davis, also with the intention of

       preventing her from testifying at his forthcoming trial.

                             Count : Money Had and Received

          COMES NOW Plaintiff, and for her claim of money had and received, states and

    alleges as follows:

    71. Plaintiff adopts and restates all previous paragraphs as if they had been fully


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           set forth herein.

         72. Defendant received and obtained possession of Plaintiff's money, including money

            from her    bank   accounts,   credit accounts,   personal   property,   and   money

            contributed to the purchase and improvement of real property.

        73. Defendant appreciated a benefit of the money received from Plaintiff in that he

            retained and applied the funds received to accounts he controlled and for the

            purchase of real and personal property.

        7 4. Defendant retained the money received for his own benefit under

           unjust circumstances.

        75. Pleadings alternatively or hypothetically pursuant to Mo. Rev. Stat.

           509.110, Defendant was unjustly enriched by the funds received from

           Plaintiff Davis.

        76. As a result of the aforementioned, Plaintiff has suffered significant damages,

           including the complete denial of control and access to funds exceeding

           $300,000.00. Plaintiff has further suffered emotional distress as a result of the

           funds being so unjustly retained.

        77. Defendant intentionally hurt Plaintiff Davis by unjustly retaining the funds.

      WHEREFORE, Plaintiff prays for judgement in her favor in an amount determined

to be fair and reasonable following trial of the matter, for her attorney's fees, and for such

other relief as may be just and proper under the circumstances.




                                Count_2: _Fraudulent Misrepresentation




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       COMES NOW Plaintiff, and for her claim of fraudulent misrepresentation, states

and alleges as follows:'

        78. Plaintiff adopts and restates all previous paragraphs to this Petition as if fully set

           forth herein.

        79. Defendant Dougherty, throughout the course of his relationship with Plaintiff
            Davis
            and culminating in the May '23 statements, represented to Plaintiff Davis that

            he would not take money from her credit or cash accounts without her prior

            approval.

        80. Defendant Dougherty repeated reaffirmance of this promise was material to

            Plaintiff Davis continuing to allow access to Davis' funds.

        81. Dougherty intended that Davis rely on the affirmations in continuing to

           lend the money.

        82. Plaintiff Davis was ignorant at all times of the falsity of the representation.

        83. Plaintiff Davis relied upon Dougherty's representation when continuing to allow

           such access.

        84. Plaintiff Davis reliance upon the representation was reasonable in that

           Dougherty       continued   and   repeatedly     made    assurances     that   the

           representation was to be relied upon.

       85. As a result of Plaintiffs reliance on the above described representations,

           Plaintiff Davis has suffered serious damages. Plaintiff Davis has lost

           significant amounts of money, in addition to sustaining attorney's fees and

           costs.




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       86. Defendant Dougherty intended to harm Plaintiff Davis.

      WHEREFORE Plaintiff Davis prays that the Court grant judgement in her favor,

and award damages after a trial assessing the same, for her attorneys costs and fees

incurred, and for such further relief as may be just and proper under the circumstances.

                                  Counts 3-10: Assault and Battery

      COMES NOW Plaintiff, Amber Davis, by and through her undersigned attorney, and

for her claims of assault and battery, states to the Court as follows;

       87. Plaintiff adopts and restates all previous paragraphs to this Petition as if fully set

          forth herein.


       88. Defendant Dougherty intended to cause harmful or offensive

          conduct, or apprehension thereof, on at least the following

          occasions-

              a. December 2018:          Defendant Dougherty violently threw items

                  at Plaintiff Davis: Defendant Dougherty screamed at Plaintiff

                  Davis: Defendant Dougherty shoved Plaintiff Davis.

              b. February 2020;         Defendant Dougherty pushed Plaintiff Davis in

                 the chest a few weeks after Davis had major abdominal surgery.

              c. July 2020:       Defendant Dougherty wielded a gun at Plaintiff Davis,

                 directing her to kill him while he killed her; Defendant Dougherty

                 brandished said weapon at Plaintiff Davis, shooting randomly off of his

                 deck.

              d. July 2020;       Defendant Dougherty attacked Plaintiff Davis,



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                 twice throwing her down in the parking lot, causing serious injury.

           e. August 2020%      Defendant Dougherty grabbed Plaintiff Davis by the head,

                 screaming at her that he wanted to put his first through her face and so

                 badly wanted to hurt her.

          f. August 2022: Defendant Dougherty shook Plaintiff Davis, hitting her

                 head on the wall, and then threw how on the sofa, continuing to violently

                 shake and scream at her while kneeling over her.

          g. September 2022:           Defendant      Dougherty   attempted    to   prevent

                 Plaintiff from leaving by first standing in front of the door. When he

                 allowed her to leave, Dougherty slammed the door on her hand, leaving

                 Davis' fingertips on the other side of the door. Dougherty then locked the

                 deadbolt. The flesh was tom open, exposing tendons and underlying bone.

                 One of the injured fingers was fractured.

          h. January 2023: Defendant Dougherty attacked Plaintiff Davis when she

                 came to his condo, charging her and throwing her against a wall,

                 causing her to fall to the ground.

    89. All of the above described assaults and/or batteries were intended to harm

       Plaintiff Davis.

    90. As a result of the above described assaults, Plaintiff Davis has suffered serious
       injury.


       Plaintiff Davis has suffered emotional distress and lost wages. Plaintiff Davis has

       suffered diminished earning capacity and medical damages in the past, and will

       suffer the same in the future.




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      WHEREFORE Plaintiff Davis prays that the Court grant judgement in her favor,

and award damages after a trial assessing the same, for her attorneys' costs and fees

incurred, and for such further relief as may be just and proper under the circumstances.

                     Count ]j: Negligent Infliction of Emotional Distress


      COMES NOW Plaintiff Amber Davis, by and through her undersigned attorney, and for

her claim of negligent infliction of emotional distress, offered in the hypothetical and alternative

in accordance of the rules, against Defendant Dougherty states as follows:

       91.Plaintiff adopts and restates all previous paragraphs to this Petition as if fully

           set forth herein.

       92.Defendant Dougherty had a legal duty to protect the Plaintiff from injury.

       93.Defendant Dougherty breached that duty.

       94.Defendant Dougherty acted negligently in the following manners and particulars

           and such further acts to be revealed in the course of discovery:

              a. June of '16       Defendant     Dougherty     became     violently   angry    and

                   aggressive in front of Plaintiff Davis for the first time in their relationship,

                   screaming at Plaintiff Davis over his revoked license until she complied with

                   his demand to provide him rides. This continued onward until 2024.

              b. Defendant Dougherty's related to Plaintiff Davis that he had a violent boost

                   in an AT&T store and attacked a customer after becoming enraged with

                   them.

              c.   September of '16:       Defendant Dougherty threatened that Plaintiff

                   Davis that he would physically hurt her and her mother.



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           d. December '18:              Defendant Dougherty kept Plaintiff Davis awake for

                36 hours straight and became angry after Plaintiff Davis refused to spend

                further time with him.

           e. Defendant Dougherty continued to disrupt Plaintiff Davis' sleep onward

                while she was working 3 different jobs for approximately 100 hours a week.

           f.   October '19:             Defendant Dougherty convinced Plaintiff Davis to

                come paint his house even though she was supposed to be on bedrest after

                her surgery.

           g. June '20:         After getting intimate with Plaintiff Davis, Defendant

                Dougherty told her that right before coming to her, he had been with another

                woman. He threatened to go back on dating apps if Plaintiff Davis did not

                comply with his demands.

          h. August '20:        Defendant Dougherty continuously threatened to kill

                himself when things would not go his way.

          1.    Defendant Dougherty showed Plaintiff Davis his gun collection and offered

                Plaintiff Davis a gun instructing that both of them should commit suicide

                together.

          J.    Defendant Dougherty continuously spent large amounts of money on

                personal items while using Plaintiff Davis' money, especially during the time

                he would become angry with her.

          k. '20:               Defendant Dougherty expressed that he and Plaintiff Davis

                would not get back together, a desire to kill himself, and proceeded to tell




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                Plaintiff Davis about a woman whom he would have a sexual intercourse

                with the same night that Plaintiff Davis was spending time with her family

                and did not bring cake to Defendant Dougherty.

           1.   Defendant Dougherty continued to send Plaintiff Davis pictures of different

                women he alluded to having sexual intercourse with for as long as Plaintiff

                Davis refused to comply with his demands.

           m. Defendant Dougherty promised to cheat on Plaintiff Davis.

          n. Defendant Dougherty promised to kill Plaintiff Davis' mother.

          o. Defendant Dougherty disregarded Plaintiff Davis' health condition during

                sexual intercourse. Defendant Dougherty would not let Plaintiff Davis free

                until he reached his "satisfaction", often leaving Plaintiff Davis in tears,

                suffering through excruciating pain in her abdominal and pelvic area. Often,

                Defendant Dougherty would get angry at Plaintiff Davis during their

                intimacy.

          p. Defendant Dougherty openly shared violent fantasies of killing people and

                police officers with Davis.

          q. December '22: Defendant Dougherty called Plaintiff Davis' "retarded" for not

                being able to write him a check before a couple messages after he told her

                he "loved her".

          r.    Defendant Dougherty called Plaintiff Davis on the phone, told her he is going

                to kill himself, and proceeded to ignore her subsequent calls and messages.

          s.    Defendant Dougherty used the "silent treatment" continuously throughout




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                his relationship with Plaintiff Davis to punish her for refusing to comply

                with his demands.

           t.   Defendant Dougherty continuously reminded Plaintiff Davis that she was

                not "submissive" enough and that her current personality was unattractive.

           u. Defendant Dougherty forced Plaintiff Davis to watch videos of reported

                violence and abuse toward women.

           v. Defendant Dougherty often forgot Davis' birthday, and on one such instance,

                he asked Davis to come cook him dinner.

           w. Defendant Dougherty fantasized about killing Plaintiff Davis' mother even

                though Plaintiff Davis' mother has passed in December of 2022.

          x. Defendant Dougherty told Plaintiff Davis that she was embarrassing him

                when Plaintiff Davis hurried to find Defendant Dougherty at a bar after he

                said he would "blow his head off'.

          y. Defendant Dougherty purchased two sets of blue eye contacts for Plaintiff

                Davis to wear because he hated her eye color. He also contacted Plaintiff

                Davis' hairdresser, demanding to get her hair dyed red so that she could look

                the way she wanted.

          z. Defendant Dougherty berated and repeatedly blamed Plaintiff Davis for his

                arrest for domestic assault and Plaintiff Davis' care about his well-being.

          aa. Defendant Dougherty blamed Plaintiff Davis for Defendant's inability to

                have a job as a result of the aforementioned arrest.

          bb. Defendant Dougherty blamed being in a relationship with Plaintiff Davis as



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              the source of his inability to hold assets and pay Plaintiff Davis back over

              $100,000 of debt.

          cc. Defendant Dougherty in a conversation with his friend John, memorialized

             in a voicemail Plaintiff Davis listened to, hypothesized about her ability to

             kidnap and kill Defendant Dougherty with a sedative, calling her a "nutcase"

             and a "little girl", and laughing at her having a panic attack and being

             confused.

          dd. January '23:    Defendant Dougherty berated Plaintiff Davis by text

             messages over completion of documents, calling her a "stupid bitch" and "cry

             baby" while Plaintiff Davis repeatedly asked Defendant Dougherty to stop

             messaging her.

          ee. Defendant Dougherty threatened to "hang [himself] in [his] cell" following

             his jail stay in Hillsboro.

          ff. February '23: Defendant Dougherty became extremely furious over text,

             stating that he "hated [his] life" and that he was going to "have a nervous

             breakdown and cry" when Plaintiff Davis told him she could not spend time

             with him because she had a family medical emergency.

          gg. Defendant Dougherty made a myriad of derogatory remarks through text

             messages at Plaintiff Davis, stating: "Quit being demanding"; "You're being

             controlling"; "Quit being combative that is so unattractive": "You didn't want

             to come today anyway you fucking cunt"; "You're stupid fucking annoying

             bitch"; "You need mood stabilizers"; "Fuck you you stupid cunt"; "T'm glad

             your mother is rotting in hell"; "No believe me that bitch is in hell", all the


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             while demonstrating extreme aggressive caused by Plaintiff Davis asking

             Defendant Dougherty to apologize after the first rude remark.

          hh. Defendant Dougherty blamed Plaintiff Davis for not being able to afford food

             for him, announcing their official break up and that he would be "starving

             for the next 2 days" if she did not purchase him sushi. After supposedly

             breaking up with her, Defendant Dougherty proceeded to ignore all of

             Plaintiff Davis' worried texts until she told him when she would pick him up

             from jail, stating further that he "hated her" and that she "would never see

             [him] again".

          ii. April '28: Defendant Dougherty completely ignored Plaintiff Davis' text

             message that describe how much she was hurting over their broken

             marriage plans and relationship.

          jj. May '23: Defendant Dougherty told Plaintiff Davis that he "Can't take it

             right now ... I'm going to take a gun to my fucking head don't you understand

             that you fucking idiot" after Plaintiff Davis stated that it hurt her that

             Defendant Dougherty hung up on her when she was crying and needed 5

             minutes of kindness.

          kk. Defendant Dougherty had multiple affairs with women while in a

             relationship with Plaintiff Davis, planning a wedding, and all the while

             reporting these instances to her.

          11. Plaintiff Davis found out that Defendant Dougherty cheated on her by

             receiving a positive HPV test during her annual checkup. When confronted

             with this, Defendant Dougherty told Plaintiff Davis: "Aren't you worried


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                   cause I am going to get throat cancer?"

        95. Defendant Dougherty's actions were both the actual and proximate cause of

            Plaintiffs injury.

        96.Plaintiff Davis was diagnosed with PTSD following Defendant Dougherty's

            negligent conduct toward Plaintiff Davis.

        97.Defendant Dougherty should have realized that his conduct involved an

           unreasonable risk of causing emotional distress.

        98.Defendant Dougherty's actions created an unreasonable risk of causing emotional

            distress and that the distress was medically diagnosable and significant.

        99.Plaintiff Davis was in the zone of danger and was placed in reasonable fear of

           physical injury due to Defendant Dougherty's actions.

        100. Plaintiff Davis suffered severe emotional distress and mental injury that is

           medically diagnosable and of sufficient severity to be medically sufficient.

        101. Plaintiff Davis suffered additional loss of wages, medical bills, and pain and

           suffering damages.




      WHEREFORE Plaintiff prays the Court enter judgement in her favor, directing the

above-described property be taken by her, and attaching a writ to such property, and

authorizing Plaintiff to reenter and retake such property under protection of law, and for

such other relief as may be just and proper in the circumstances.




                                  Respectfully Submitted,



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                           OTT LAW FIRM


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  State of Missouri                   )
                                      ) ss.
  County of St. Louis County          )



      Amber Davis, Petitioner in the in the above-entitled cause, being of full age and

 being first duly sworn upon her oath, states that she has read and understands the

 foregoing instrument; and that the facts contained therein are true to the best knowledge

 and belief of this affiant and she has executed the same as her true and correct, free act

 and deed.




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Petitioner Name
                                                           ,/ <c.es
                                                           etitioner Signature




     Subscribed and worn to before me this /           t- day of ~v.2._


My Commission Expires: - 08 = 22%-

                           DARIYA S KUCHERYABE
                          Notary Public, Notary Seal
                              State of Missouri
                                St Louis County
                      M,     Commission # 24709131
                        'y Commission Expires 08-08-2029




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